                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

 UNITED STATES OF AMERICA,
                Plaintiff,                               No. CR 15-3013-MWB
 vs.                                                   SUA SPONTE ORDER
                                                     DIRECTING THE PARTIES
 NORMAN DAVID IZAGUIRRE
 GUERRERO, a/k/a “Noro,” and ALAN                       TO SUBMIT BRIEFS
 ENRIQUE ENAMORADO,                                    REGARDING VENUE

                Defendants.

                                  ____________________

         This Court, sua sponte, directs the parties to submit briefs on several issues not
raised during trial, which occurred on October 19, 2015 to October 22, 2015.          Venue
questions in criminal cases raise deep issues of public policy and are not merely matters
of formal legal procedure.      United States v. Moeckly, 769 F.2d 453, 460 (8th Cir.
1985).     Venue, unless properly waived, is an essential part of the prosecution’s case in a
criminal prosecution and must be established by adequate proof, the burden of which is
on the prosecution.      See United States v. Delgado, 914 F.2d 1062, 1064 (8th Cir.
1990). The parties are directed to brief the following issues: (1) Did the prosecution
establish venue; (2) where venue was not questioned before or in defendants’ Rule 29
Motion, has the objection been waived; and (3) can the defendants be retried if venue
was not proved?       These briefs should be submitted by, and including, the date of
November 13, 2015.
         IT IS SO ORDERED.
         DATED this 23rd day of October, 2015.


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                                                  MARK W. BENNETT
                                                  U. S. DISTRICT COURT JUDGE
                                                  NORTHERN DISTRICT OF IOWA


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